18-01021-smb   Doc 16-1   Filed 06/11/18 Entered 06/11/18 16:04:22   Exhibit A
                                    Pg 1 of 4




                              Exhibit A
18-01021-smb       Doc 16-1      Filed 06/11/18 Entered 06/11/18 16:04:22              Exhibit A
                                           Pg 2 of 4
 From: Matt Nolan
 Sent: Thursday, February 25, 2016 11:25 PM
 To: pelissier@cbagroupllc.com
 Cc: Brian Stephen; Glen Youngblood; Thomas Fuchs; Thomas Milea; Earl Kossuth; Jean Luc Pelissier;
 Michael Greenberg; Randy Jones; John Pothin
 Subject: Re: Securing Assets

 Is Hudson Valley payroll ok for tomorrow?

 MN

 Matt Nolan
 Vice President
 TransCare Hudson Valley
 10 South White Street
 Poughkeepsie, New York 12601
 (845) 234-3199

 On Feb 25, 2016, at 11:23 PM, "pelissier@cbagroupllc.com" <pelissier@cbagroupllc.com>
 wrote:

       Brian and all

       I just talked to Glenn who had just talked to Tom Milea

       Here is the plan : Tom, Glenn and some other resources are going to the Milea
       building to pick up the AS400 server.

       The server will be moved using a non ambulance vehicle to the MTA facility and
       reconnected on time for the MTA para transit division to do their early morning
       routing.

       Earl in PA will not be able to do CAD toomorow and will have to manage with the
       according procedure.

       Billing in PA will be held for a couple of days until the system is back in service.
       The AS400 move should not have any impact on Hudson Valley since they are
       using a different system for call intake, dispatch and billing.

       So as long as they can take the system tonight and move it to the MTA , they know
       they have enough air conditioning to run it and get going.

       Earl , you will have to plan running the next two days without CAD access which I
       understand you have a procedure for it.

       Best regards, Jean Luc
       Sent via BlackBerry by AT&T

       From: Brian Stephen <Brian.Stephen@PatriarchPartners.com>
       Date: Fri, 26 Feb 2016 04:14:35 +0000
       To: Matt Nolan<MattN@transcare.com>
       Cc: Glen Youngblood<GlenY@transcare.com>; Thomas
       Fuchs<thomasf@transcare.com>; Thomas Milea<thomasm@transcare.com>; Earl
       Kossuth<earlk@transcare.com>; Jean Luc
       Pelissier<JeanLuc.Pelissier@PatriarchPartners.com>; Michael
       Greenberg<Michael.Greenberg@PatriarchPartners.com>; Randy
       Jones<Randy.Jones@PatriarchPartners.com>; John
       Pothin<John.Pothin@PatriarchPartners.com>
       Subject: RE: Securing Assets

       Matt,
18-01021-smb     Doc 16-1     Filed 06/11/18 Entered 06/11/18 16:04:22              Exhibit A
                                        Pg 3 of 4
     I am trying to confirm that it does not, but I’ve been out of the loop on some
     of that. It is my understanding that we want to do all we can for NewCo
     employees and a big part of that is having an operating company as a
     whole.

     Is there anyone who can reach out to emsCharts about the ePCR
     agreement? We need to get that moved to Newco ASAP. Please let me
     know who might be able to handle that.

     Also, we’re going to need to make sure we can get to the MTA vehicles – I
     have been corresponding with Tom Charles and his attorney tonight and
     they are expecting business as usual while we iron work through the
     assignment process.

     Ultimately, we need to identify someone at Transcendence who can help
     make sure that things do not go off the rails because of whatever might be
     happening at TransCare.


     From: Matt Nolan [mailto:MattN@transcare.com]
     Sent: Thursday, February 25, 2016 10:59 PM
     To: Brian Stephen
     Cc: Glen Youngblood; Thomas Fuchs; Thomas Milea; Earl Kossuth; Jean Luc Pelissier;
     Michael Greenberg; Randy Jones; John Pothin
     Subject: Re: Securing Assets

     Does this impact Hudson Valley payroll?

     Matt Nolan
     Vice President
     TransCare Hudson Valley
     10 South White Street
     Poughkeepsie, New York 12601
     (845) 234-3199

     On Feb 25, 2016, at 10:53 PM, Brian Stephen
     <Brian.Stephen@PatriarchPartners.com> wrote:

           Everyone,

           As you may be aware, the senior lenders for TransCare
           foreclosed on all of its assets and those assets were sold to
           Transcendence Transit.

           The initial proposal was to allow TransCare to continue to use
           those assets for a period of time to allow it to wind-down its
           business in an orderly fashion.

           Unfortunately, due to a number of circumstances, that will not be
           the case and there will be no wind-down period.

           As a result, we need to try and secure as many assets
           (ambulances, equipment, etc.) as possible as quickly as we can.

           I am not entirely sure where the most valuable assets are, but it
           makes sense to target those first – if those assets can be
           moved.

           The TransCare bankruptcy trustee has ordered employees to
           stop working and to return to their bases. I have heard
    18-01021-smb          Doc 16-1 Filed 06/11/18 Entered 06/11/18 16:04:22                                                     Exhibit A
                                             Pg 4 of 4
                  unconfirmed reports that some are leaving ambulances on the
                  road and walking away – I am not sure whether that is an
                  accurate report.

                  We need to develop a plan to try and save as much as we can.

                  Please let me know if people are available for a call tonight and
                  we will try to come up with a method to save what we can.

                  Thanks,
                  Brian
                  Brian D. Stephen
                  Senior Director, Legal
                  Patriarch Partners, LLC
                  One Broadway
                  New York, NY 10004
                  646.723.7656 Office
                  212.825.2038
                  www.patriarchpartners.com

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